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John Rue (047032005)
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Attorneys for Plaintiff
                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

M.A.,                                         )
                                              ) Civil Action No. 3:20-cv-05218
               Plaintiff,                     )
                                              )
v.                                            )   PLAINTIFF’S NOTICE OF MOTION
                                              )   FOR AN AWARD OF ATTORNEYS’
Wall Township Board of Education,             )           FEES AND EXPENSES
                                              )
            Defendant.                        )

TO:     Gabrielle Pettineo, Esq.
        KENNEY, GROSS, KOVATS & PARTON
        130 Maple Avenue, Building 8
        Red Bank, NJ 07701

        PLEASE TAKE NOTICE that, on March 21, 2022 at 9:00 in the forenoon, or as soon

thereafter as counsel may be heard, the undersigned, attorneys for Plaintiffs M.A., will move

before the Honorable Freda L. Wolfson, C.U.S.D.J., at the Clarkson S. Fisher Building & U.S.

Courthouse, 402 East State Street, Trenton, NJ 08608 for an award of attorneys’ fees and expenses

against defendant Wall Township Board of Education.

        PLEASE TAKE FURTHER NOTICE that in support of her motion, Plaintiff shall rely

upon the Memorandum of Law, and the Certifications of John Rue, Robert C. Thurston, Catherine

Merino-Reisman, and David R. Giles, submitted herewith.

        PLEASE TAKE FURTHER NOTICE that, at the time and place aforesaid, Plaintiffs

will request that the Court enter the proposed form of Order submitted herewith.

Dated: February 11, 2022                                     s/ John D. Rue
                                                           JOHN D. RUE
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                             CERTIFICATION OF SERVICE

I hereby certify that, on this date, I served a true copy of Plaintiff’s Memorandum of Law,

Certifications of John Rue, Robert C. Thurston, Catherine Merino-Reisman, and David R. Giles,

proposed Form of Order, and the within Notice of Motion upon defendant Wall Township Board

of Education, by sending same to its counsel of record, via the Court’s Electronic Case Filing

system.



Dated: February 11, 2022                                                s/ John D. Rue
                                                                        JOHN D. RUE
